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                                              State of New Jersey
PHILIP D. MURPHY                            OFFICE OF THE ATTORNEY GENERAL                      MATTHEW J. PLATKIN
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   Lt. Governor                                     Newark, NJ 07101                                   Director



                                                    July 5, 2024

       VIA ECF
       Hon. Julien X. Neals, U.S.D.J.
       United States District Court
       District of New Jersey
       Martin Luther King Jr. Federal Building
       & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                         Re: United States, et al. v. Apple Inc.
                               Case No. 2:24-cv-04055
                               Pre-Motion Conference July 17, 2024, at 11:00 A.M.

       Dear Judge Neals:

               This Office, by and through Attorney General Matthew J. Platkin, represents Plaintiff, the
       State of New Jersey (“New Jersey”), and is appearing as local counsel for the Platiniff-States of
       Arizona, California, Connecticut, the District of Columbia, Indiana, Maine, Massachusetts,
       Michigan, Minnesota, Nevada, New Hampshire, New York, North Dakota, Oklahoma, Oregon,
       Tennessee, Vermont, Washington, and Wisconsin (collectively, “Plaintiff-States”) in the above-
       captioned matter. This correspondence is respectfully submitted on behalf of the Plaintiff-States
       and the United States concerning appearances at the pre-motion conference scheduled by the Court
       for July 17, 2024, at 11:00 A.M. (ECF No. 63).

              Counsel for the Plaintiff State of New Jersey and the United States intend to attend the pre-
       motion conference in person. Plaintiffs, however, respectfully request that Your Honor permit
       other counsel for the Plaintiff-States and the United States to attend the conference virtually via
       telephone dial-in or any alternative means that are most convenient for the Court.

                In addition, New Jersey and the United States request that counsel of the Plaintiff States
       and the United States who are not actively making an appearance be permitted to attend virtually
       for all future conferences and hearings over the course of this litigation.

                  Your Honor’s time and consideration of this matter are greatly appreciated.
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                             Respectfully submitted,

                             MATTHEW J. PLATKIN
                             ATTORNEY GENERAL OF NEW JERSEY

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                                   Minnesota, Nevada, New Hampshire, New York,
                                   North Dakota, Oklahoma, Oregon, Tennessee,
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                             s/ Jonathan H. Lasken
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Encs.
CC: All Counsel of Record
